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   9

  10                         UNITED STATES DISTRICT COURT
  11                       SOUTHERN DISTRICT OF CALIFORNIA
  12   KATHRYN KAILIKOLE, an                     CASE NO.: 3:18-cv-02877-AJB-MSB
       individual;
  13                                             [Previously San Diego Superior Court
                            Plaintiff,           Case No. 37-2018-00058754-CU-WT-NC
  14                                             before the Honorable Ronald F. Frazier]
              v.
  15                                             DEFENDANT PALOMAR
       PALOMAR COMMUNITY                         COMMUNITY COLLEGE
  16   COLLEGE DISTRICT, a                       DISTRICT’S NOTICE OF MOTION
       governmental entity; and DOES 1           AND MOTION TO DISMISS
  17   through 25, inclusive;                    PLAINTIFF’S COMPLAINT
                                                 PURSUANT TO CAL. CODE CIV.
  18                        Defendants.          PROC. § 425.16
  19                                             DATE: June 20, 2019
                                                 TIME: 2:00 p.m.
  20
                                                 Complaint Filed: November 20, 2018
  21                                             Removed: December 26, 2018
                                                 First Amended Complaint Filed:
  22                                             January 18, 2019
  23                                             Trial Date: Not Set
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                   DEF’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                                         CASE NO.: 3:18-cv-02877-AJB-MSB
       FPDOCS 34914139.1
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   1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2           PLEASE TAKE NOTICE that on June 20, 20191, at 2:00 p.m., at the
   3   above-referenced Court, Defendant Palomar Community College District
   4   (“Defendant”) will, and hereby does, move the Court to issue an order striking
   5   Plaintiff Kathryn Kailikole’s (“Plaintiff”) First Amended Complaint in its entirety
   6   pursuant to California Code of Civil Procedure §425.16. Defendant will also move
   7   the Court to issue an order awarding attorney fees to Defendant pursuant to
   8   California Code of Civil Procedure §425.16(c).
   9           This motion will be brought on the grounds that the First Amended
  10   Complaint is a SLAPP suit within the meaning of California Code of Civil
  11   Procedure §425.16 because all of the alleged wrongful conduct of which Plaintiff
  12   complains is protected activity. Further, Plaintiff will be unable to meet her burden
  13   to show a probability of success on the merits for any of her claims. Defendant also
  14   requests that it be awarded attorney’s fees on the grounds that §425.16(c) permits
  15   the Court to award attorney’s fees to a defendant who prevails on an anti-SLAPP
  16   motion, even where the defendant prevails only in-part.
  17           This Motion is based upon this Notice of Motion and Motion; the
  18   concurrently filed Memorandum of Points and Authorities; the concurrently filed
  19   Declarations of Lisa Norman, Jack Kahn, and Jeffrey B. Love; all other pleadings
  20   and papers on file in this matter; any oral argument that may be presented when the
  21   Motion is heard; and upon such additional evidence as the Court deems relevant.
  22       DATE: March 19, 2019               FISHER & PHILLIPS LLP
  23                                       By: /s/ Adam F. Sloustcher
                                               Regina A. Petty
  24                                           Adam F. Sloustcher
                                               Attorneys for Palomar Community
  25                                           College District
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  27    Defendant was provided this hearing date by the Court with the understanding that
       the docket conditions of the Court require a hearing date later than 30 days
  28   following service of the instant motion. See Cal. Code Civ. Proc. §425.16(f).
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                  DEF’S NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                                        CASE NO.: 3:18-cv-02877-AJB-MSB
       FPDOCS 34914139.1
Case 3:18-cv-02877-AJB-MSB Document 14 Filed 03/19/19 PageID.1610 Page 3 of 3



   1                                PROOF OF SERVICE
                                  (CCP §§1013(a) and 2015.5)
   2
             I, the undersigned, am at least 18 years old and not a party to this action. I
   3   am employed in the County of San Diego with the law offices of Fisher & Phillips
       LLP and its business address is 4747 Executive Drive, Suite 1000, San Diego,
   4   California, 92121.
   5         On March 19, 2019, I served the following document(s) DEFENDANT
       PALOMAR COMMUNITY COLLEGE DISTRICT’S NOTICE OF
   6   MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
       PURSUANT TO CAL. CODE CIV. PROC. § 425.16 on the person(s) listed
   7   below by placing       the original   a true copy thereof enclosed in sealed
       envelope(s) addressed as follows:
   8
        Evan Dwin (SBN 241027)                Telephone: (760) 536-6471
   9    DWIN LEGAL, APC                       Facsimile: (760) 585-4649
        2121 Palomar Airport Road, Suite 170 E-Mail: edwin@dwinlegal.com
  10    Carlsbad, California 92011            Attorneys for Kathryn Kailikole
  11        [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
  12
             via the United States District Court’s Electronic Filing Program on the
             designated recipients via electronic transmission through the CM/ECF
  13
             system on the Court’s website. The Court’s CM/ECF system will generate a
             Notice of Electronic Filing (NEF) to the filing party, the assigned judge, and
  14
             any registered users in the case. The NEF will constitute service of the
             document(s). Registration as a CM/ECF user constitutes consent to electronic
  15
             service through the court’s transmission facilities.
             I declare that I am employed in the office of a member of the bar of this
  16   Court at whose direction the service was made.
  17         Executed March 19, 2019, at San Diego, California.
  18     Michael Lynn Filio                   By:
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                                        PROOF OF SERVICE
       FPDOCS 34914139.1
